IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANET MONGE, :
Plaintiff : CIVIL ACTION
v.

UNIVERSITY OF PENNSYLVANIA ef al, :
Defendants : No, 22-2942

ORDER

And now this So day of May, 2023, upon consideration of Defendants Advance
Magazine Publishers Inc, d/b/a The New Yorker and Teen Vogue, Ezra Lerner, Heather A.
Thompson, Associated Newspapers Limited d/b/a The Daily Mail, Adam Schrader, ESPN Inc.
d/b/a Andseape, Linn Washington, Nicole Froio, Guardian News & Media Limited d/b/a The
Guardian, Ed Pilkington, NYP Holdings, Inc. d/b/a New York Post, Jackson O’ Bryan a/k/a Blake
Montgomery, The New York Times Company, Michael Levenson, The Slate Group, LLC, and
Elaine Ayers (collectively, “the Media Defendants”) Motion to Dismiss Dr. Janet Monge’s
Amended Complaint (Doc. No. 53), Dr. Monge’s Memorandum of Law in Opposition to the
Defendants’ Motion to Dismiss (Doc. No, 80), the Media Defendants’ Reply Memorandum of
Law in Support of Their Motion to Dismiss (Doc. No. 95), and Dr, Monge’s Supplemental
Memorandum in Support of Her Response to the Defendants’ Motions to Dismiss (Doc. No. 102),

it is hereby ORDERED as follows, for the reasons set forth in the accompanying memorandum:
1, The Media Defendants’ motion to dismiss is GRANTED WITH PREJUDICE as to the
defamation, defamation by implication, and false light claims against the New Yorker and

Ms. Thompson on the grounds that they are protected by Pennsylvania’s fair report

 
privilege, and as to the New York Times and Mr. Levenson on the grounds that the claims

against them are time-barred by the statute of limitations.

. The Media Defendants’ motion to dismiss is GRANTED WITH PREJUDICE as to the

defamation claim against the Daily Mail and Mr. Schrader; the Guardian and Mr.
Pilkington; the New York Post and Mr. O’Bryan; Andscape and Ms. Washington; and Teen

Vogue and Mr, Lerner.

. The Media Defendants’ motion to dismiss is GRANTED WITHOUT PREJUDICE as to

the defamation by implication claim against Slate and Ms. Ayers; Andscape, Ms. Froio,

and Ms, Washington; and Teen Vogue and Ezra Lerner,

. The Media Defendants’ motion to dismiss is GRANTED WITHOUT PREJUDICE as to

the false light claim,
. The Media Defendants’ motion to dismiss is GRANTED WITHOUT PREJUDICE as to
the civil aiding and abetting claim.

BY THE COURT:

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